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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION

 JAMES EDWARD MOORE,

                        Plaintiff,

 v.                                             CIVIL ACTION NO.: 4:17-cv-00144-AWA-LRL


 CURTISS-WRIGHT CORPORATION, et al.,

                        Defendants.


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
        COME NOW, Plaintiff, James Edward Moore (hereinafter “Moore”) and the Defendant,

 UNION CARBIDE CORPORATION (hereinafter “Settled Defendant”), by and through their

 respective counsel, and represent to the Court that all matters in controversy between Moore and

 the Settled Defendant have been resolved and compromised, and they accordingly stipulate that

 this action be dismissed pursuant to Federal Rule of Civil Procedure 41, as against the Settled

 Defendant. This Joint Stipulation of Dismissal shall apply only to the Settled Defendant. Each

 party shall bear its own costs and attorneys’ fees in this matter. This lawsuit shall continue against

 all other defendants not specifically named herein.


                                                Respectfully submitted,

                                                This 10th day of June, 2019.




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 WE ASK FOR THIS:


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of June, 2019, I electronically filed the foregoing
 with the Clerk of Court using the CM/ECF system, which will then send a notification of such
 filing (NEF) to the following:

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